                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

JULIAN ALVARADO;                                      )
JORGE ALVARADO; and                                   )
MYNOR CHOX FRANCISCO,                                 )
                                                      )
        Plaintiffs,                                   )      No.: 3:16-cv-3030
                                                      )
v.                                                    )
                                                      )
BURKE SKELTON; and                                    )      Magistrate Judge Holmes
OUTDOORS UNLIMITED, INC.                              )
                                                      )
        Defendants.                                   )


                                    CONSENT JUDGMENT


        Upon their agreement, and in compromise and settlement of the above-captioned

action, the parties, Julian Alvarado, Jorge Alvarado, Mynor Chox Francisco (“Plaintiffs”),

and Burke Skelton and Outdoors Unlimited, Inc. (“Defendants”), hereby consent to the entry of

judgment in terms herein described. Having reviewed the parties’ Joint Motion for Entry of

Consent Judgment (Dkt. No. 71), and supplemental memorandum in support (Dkt. No. 73) with

accompanying settlement agreement (Dkt. No. 74), the Court, being satisfied that Plaintiffs and

Defendants are in agreement, and that the law and equities of the case support said

agreement, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that:


     1. The Court retains jurisdiction to enforce this Judgment and its terms.

     2. Defendants acknowledge that this Court is the most appropriate venue for any

        subsequent enforcement action.

     3. While denying the Plaintiffs’ allegations in the lawsuit and any liability to

        Plaintiffs, Defendants agree to make payments to Plaintiffs in compromise of


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       Plaintiffs’ claims raised in this lawsuit as follows:

          a. $30,000 on January 6, 2018, and

          b. $90,567.50 on April 20, 2018.

   4. The payments in paragraph 3 will result in the payment of the total sum of one hundred

       twenty thousand, five hundred and sixty seven dollars and fifty cents ($120,567.50)

       (“Total Sum”) by April 20, 2018. Defendants’ failure to effectuate either of the two

       payments shall be deemed a breach of the parties’ settlement agreement and a violation of

       this Judgment and, therefore, shall result in the acceleration of the Total Sum, making the

       Total Sum immediately due and owing jointly and severally by Defendants.

   5. In the event of acceleration, Defendants shall pay to Plaintiffs any additional attorneys’

       fees and costs incurred by Plaintiffs to enforce this judgment.

   6. This consent judgment constitutes a final judgment of the Court, resolving all issues

       remaining in the case and constituting a final order against all Defendants.

   7. Each party shall bear its own costs and attorneys’ fees in this action, except as provided

       otherwise as part of the settlement.




                                              BARBARA D. HOLMES
                                              United States Magistrate Judge


APPROVED FOR ENTRY:

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